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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FL()RIDA

CHRISTOPHER CLINE, individually and Case No.
on behalf of all others similarly situated,

 

CLASS ACTION COMPLAINT
Plaintiff,
CLASS ACTION

v.
JURY TRIAL DEMANDED
ULTIMATE FITNESS GROUP, LLC
d/b/a ORANGETHEORY FITNESS,

Defendant.

 

Plaintiff, Christopher Cline (“Plaintiff”), individually and on behalf of all other persons
similarly situated, by and through the undersigned counsel, hereby files this Class Action
Complaint and Jury Demand against Ultimate Fitness Group, LLC d/b/a Orangetheory Fitness
(“Defendant” or “Orangetheory”) for damages, injunctive relief, equitable relief, and any other
relief deemed just and proper arising from Defendant’s violation of the Telephone Consumer
Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. , and the cheral Communications Commission
(“FCC”) rules promulgated thereunder, 47 C.F.R. §§ 64.1200(d) and (e) (“Rules”).

NATURE OF CASE

l. Plaintiff brings this Class Action Complaint against Defendant to seek redress for
Defendant’s willful violations of the TCPA, and the Rules, by sending telemarketing texts to
Plaintifr"s telephone using automatic telephone dialing systems (“ATDS”) without their express
Written consent, and by placing telemarketing texts to Plaintiff’ s and other class members’ cellular

telephones in the absence of or after they had Withdrawn any consent for such calls.

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JURISDICTION AND VENUE

2. This Court has original federal question and subject matter jurisdiction pursuant to
28 U.S.C. § 1331 and 47 U.S.C. § 227_, el seq. This action arises under the laws of the United
States.

3. Venue is proper under 28 U.S.C. § 1391 inasmuch as the Defendant is based here,
and a substantial part of the events or omissions giving rise to the claims occurred in this judicial
districtl

4. At all times relevant, Defendant maintained its principal offices in this district, and
it conducted, and continues to conduct, a substantial amount of business activity and violated
the TCPA and Rules, in whole or in part, in this judicial district. Defendant is registered to
conduct business in F lorida and this district, and engaged in interstate commerce when it called
or attempted to call Plaintiff and the members of the proposed class (defined below). Defendant

also advertised and promoted its business and derived substantial revenue in this district

PARTIES
5. Plaintiff Christopher Cline is a citizen of Florida.
6. Defendant Orangetheory is a limited liability company organized under the laws of

Delaware With its principal place of business at 6000 Broken Sound Pkwy NW, Suite 201, Boca
Raton, FL 33487. lt is a franchisor of fitness studios. Orangetheory has over 650 franchises in
the United States and had revenue of some $450 million in 201 6.

7. Whenever in this Complaint it is alleged that Defendant committed any act or
omission, it is meant that the Defendant’s officers, directors, agents, servants, or employees
committed such act or omission and that, at the time such act or omission was committed, it was

done with the actual or apparent authority, ratification or approval of the Defendant, or was done

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in the routine normal course and scope of employment of the Defendant’s officers, directors, vice-
principals, agents, servants, or employees

LEGAL BASIS FOR COMPLAINT

8. ln 1991, Congress enacted the TCPA to regulate the explosive growth of the
telemarketing industry. In doing so, Congress recognized that “[u]nrestricted telernarketing
can be an intrusive invasion of privacy. ...” Telephone Consumer Protection Act of 1991, Pub. L.
No. 102-243 § 2(5) (1991) (codified at 47 U.S.C. § 227). The statute requires the FCC to
promulgate rules to protect telephone subscribers’ privacy rights, 47 U.S.C. § 227(c), and permits
a private right of action for violations of such rules. 47 U.S.C. § 227(c)(5).

9. All calls to cellular telephones placed using an ATDS violate the TCPA if the
calling party does not first obtain prior express consent from the called party. 47 U.S.C. §
227(b)(i)(A)(iii) and (B). The FCC has determined that this statute encompasses calls placed by
text messaging, as well as voice calls. Rules and Regulations Implememi`ng the Telephone
Consumer Protectr'on Act of 199], CG Dkt. No. 02-278, Report and Order, 18 FCC Red. 14014,
14115, 11 165 (2003); see also Rules and Regulations Implementing the Telephone Consumer
Profecrinn Act 0f]99], CG Dkt, No. 02-278, Report and Order, 30 FCC Red. 7961, 8016-18, 1111
107-110 (2015) (“2015 FCC Order”), The FCC has defined prior express consent as “an
agreement, in writing, bearing the signature of the person called that clearly authorizes the seller
to deliver or cause to be delivered to the person called advertisements or telemarketing messages
using an automatic telephone dialing system or an artificial or prerecorded voice, and the telephone
number to which the signatory authorizes such advertisements or telemarketing messages to be
delivered.” 47 C.F.R. § 464.1200(f)(8).

10. The TCPA provides for statutory damages of $500 for each call placed in violation

of TCPA and the Rules, which may be trebled if the violation is willful. 47 U.S.C. § 227(b)(3).
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FACTS RELATING TO PLAINTIFF

11. Plaintiff joined an Orangetheory gym in May or June 2016, and withdrew from
membership by the Fall of 201 6.

12. On September 18, 2017, long after Plaintiffs membership with Orangetheory had
lapsed, Defendant sent an unsolicited text to Plaintiff` s cellular phone advertising an offer to join
a new Orangetheory location. Plaintiff responded by indicating that he did not Wish to be contacted
again and admonished Defendant for unlawfully contacting him on his cellular phone Without

permission A screenshot copy of the texts is attached below.

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Hi Chris! This is Ky|a with

Orangetheory fitness Just

calling to see ir you're stat

interested in learning more

about our presaie rates for our

new Sodo iocation. is it-a good

time to speak with you?

No warriesi Have a good one:}

 
 

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permission is a visitation e€_ _'
federal law,. __ _ -

 
     

Hi there! Kyl`a Wit?t
Orangetheory fitness in Sode.
We saw you had terminated
your membership with one of

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13. On October 6, 2017, Plaintiff received on his cellular phone a second text from
Defendant, again advertising a new Orangetheory location. Plaintiff again responded by indicating
that he had not provided permission to be contacted and did not want to be contacted A screenshot

copy of the texts is attached below.

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41[407|477-5383

 

NO Worriasi Have a good one:)

 

Hi therei Kyla with
Orangetheory fitnes@ in Sodo.
We saw you had terminated
your membership with one of
our other iocations. Right now
we’re doing special presale
rates ior our new Sodo location
and we're reserving
memberships Are you
interested in rejeini'ng the OTF
fam?

" No iiermission to text me

o w 0

 

 

14. The caller ID on Plaintiff’ s phone showed that the above texts were received from
(407) 477-5388, which is the telephone number of Orangetheory’s new location in the Sodo [South
of Orlando] neighborhood

15. Defendants’ texts were made for the purpose of marketing services at a new
Orangetheory location. Defendant’s calls to place these texts were made without the prior express
written consent of Plaintiff.

16. Orangetheory transmitted telemarketing texts to Plaintiff and other members of the
class using an ATDS as defined by the FCC. During the proposed Class Period, Orangetheory
contracted with Textmunication, a California-based company that specializes in advertising
campaigns for the fitness industry using texting. Textmunication boasts on its website that it
provides its clients with “direct carrier connections for text messaging,” and an Orangetheory
representative endorsed Textmunication, stating: “Texting is a very effective tool to get your

message to clients and potential clients. Textmunication allows you to use that tool in a very user

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friendly and simple platform with an online dashboard that allows you to monitor results.” The
FCC has found, “the equipment used to originate lnternet-to-phone text messages to wireless
numbers via email or via a wireless carrier’s web portal is an ‘automatic telephone dialing
system.’ ” See 2015 FCC Order at 8018, 11 111.
CLASS ACTION ALLEGATIONS
17. Plaintiff brings this action pursuant to Federal Rules of Civil Procedure 23(a),
(b)(2), and (b)(3) on behalf of himself and the following class (the “Class”):
All individuals in the United States whose telephone numbers had been
assigned to cellular phones, and who between January l, 2014 and the date
this Class is certified received texts sent by or on behalf of Defendant placed
through the use of an automatic telephone dialing system either (a) without
their prior express written consent, or in the alternative, (b) who, according
to Defendant’s business records, purportedly provided prior express written
consent in the same manner that Plaintiff purportedly provided prior express
written consent
18. The following individuals are excluded from the proposed class: (1) Defendant,
Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which Defendant or
its parents have a controlling interest, and the current or former officers and directors of any of the
foregoing; (2) persons who properly execute and file a timely request for exclusion from the Class;
(3) the legal representatives, successors or assigns of any such excluded persons; and (4) persons
whose claims against Defendant have otherwise been fully and finally adjudicated and/or released
19. Plaintiff reserves the right to amend the Class definition and to seek recovery on
behalf of additional persons as warranted as additional facts are learned in further investigation
and discovery.
20. Plaintiff and the members of the proposed Class were harmed by Defendant’s acts

in at least the following ways: Defendant, either directly or through agents, illegally contacted

Plaintiff and the Class members without their express written consent, thereby invading the privacy

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of Plaintiff and Class members, and subjecting Plaintiff and the Class members to annoying and
harassing texts that constitute a nuisance

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21. The exact size of the Class is unknown and not available to Plaintiff at this time,
but it is clear that individual joinder is impracticable

22. According to a “case study” published by Textmunication, Defendant’s texting
campaign directed at former members and guests at just one Orangetheory location in Placerville,
California involved transmission of 1,434 texts. Defendant has over 650 locations in the United
States, opening about 100 new locations in 2017. Even if unconsented texts were limited to new
locations, this alone would represent thousands of texts sent in the past four years. Moreover, in
light of the fact that Plaintiff lives more than 40 miles from the Sodo Orangetheory location and
the message he received was sent, at a minimum to all former Orangetheory members in the
greater Orlando region for which Orangetheory had a text-capable telephone number, it is likely
that several hundred texts were sent in relation to that location alone.

COMMONALITY

23. There are many questions of law and fact common to the claims of Plaintiff and the
proposed Class, and those questions predominate over any questions that may affect individual
members of the proposed Class.

24. Common questions for the proposed Class include, but are not necessarily limited

to the following:

a. Whether Defendant had a practice of texting persons for telemarketing
purposes on their cellular phones without their prior express written
consent;

b. Whether Defendant used an ATDS for its telemarketing via text prograrn;

c. Whether Defendant’s conduct violated the TCPA',

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d. Whether Class members are entitled to treble damages based on the willful
and/or knowing nature of Defendant’s conduct; and

e. Whether Defendant should be enjoined from engaging in such conduct in
the future.
TYPICALITY
25. Plaintiff"s claims are typical of the claims of the other members of the Class_
26. Plaintiff and the Class sustained damages as a result of Defendant’s uniform

wrongful conduct during transactions with Plaintiff and the Class.

ASCERTAINABILITY

27. Among other things, members of the proposed Class can be ascertained through
Defendant’s records. Defendant maintains computerized records showing the names and
telephone numbers that it calls.

ADEQUACY OF REPRESENTATION

28. Plaintiff will fairly and adequately represent and protect the interests of the Class,
and has retained counsel competent and experienced in complex class actions involving violations
of federal and state consumer protection statutes, including claims under the TCPA.

29. Plaintiff has no interest antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff.

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SUPERIORITY

30. This case is also appropriate for class certification because class proceedings are
superior to all other available methods for the fair and efficient adjudication of this controversy
given, among other things, that joinder of all parties is impracticable Classwide relief is essential
to compel Defendant to comply with the lTCPA.

31. The damages suffered by the individual members of the Class will likely be
relatively small, especially given the burden and expense of individual prosecution ofthe complex
litigation necessitated by Defendant"s actions.

32. Even if members of the proposed Class could sustain such individual litigation, it
would still not be preferable to a class action, because individual litigation would increase the
delay and expense to all parties due to the complex legal and factual controversies alleged herein.
By contrast, a class action presents far fewer management difficulties and provides the benefits of
single adjudication, economy of scale, and comprehensive supervision by a single court.
Economies of time, effort and expense will be fostered and uniformity of decisions ensured.
Defendant has acted on grounds generally applicable to the Class, thereby making final injunctive
relief and corresponding declaratory relief with respect to the Class as a whole appropriate
Moreover, on information and belief, Plaintiff alleges that the TCPA and Rules complained of
herein are substantially likely to continue in the future if an injunction is not entered.

CLAIMS FOR RELIEF
(Violations of the TCPA, 47 U.S.C. §227, et seq.)

33. Plaintiff re-alleges and incorporates by reference each and every allegation of this
Complaint contained in each of the previous paragraphs, as if more fully set forth herein,

34. Defendant transmitted texts to Plaintiff on his cellular phone that were made using

an ATDS, without his express written consent, in violation of 47 U.S.C. § 227(b)(1)(A)(iii).
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35. Defendant’s acts and omissions constitute numerous and multiple violations of the
TCPA, including but not limited to each of the above-cited provisions of 47 U.S.C. § 227 et seq.

36. As a result of Defendant’s violations of 47 U.S.C. § 227 et seq., and accompanying
regulations, Plaintiff and each member of the proposed Class are entitled to damages for each and
every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).

37. Plaintiff and the members of the proposed Class are also entitled to, and do seek,
injunctive relief prohibiting such conduct violating the TCPA by Defendant in the future.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully requests the
following relief:

a. An order certifying this matter as a class action pursuant to Federal Rules
of Civil Procedure 23 with Plaintiff as Class Representative;

b. An order designating Berger & Montague, P.C. and Hunter & Kmiec as
Class Counsel;

c. An award of actual and statutory damages of $500 for each and every
statutory violation to each member of the Class pursuant to 47 U.S.C.
§ 227(b)(3)(B);

d. An award of actual and statutory damages of up to $1,500 for each and every
willful/and or wanton violation to each member of the Class pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);

e. lnjunctive relief prohibiting such violations of the TCPA and Rules by
Defendant in the future;

f. Pre-judgment interest on monetary relief;

g. Post-judgment interest on monetary relief; and

h. An award of attorneys’ fees and costs to the fullest extent permitted by law.

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Plaintiff requests a trial by jury on all issues so triable.

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Dated: December 18, 2017

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Atromeysfor Plaintiffand
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